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  6
      On behalf of Northern Capital, Inc.
  7

  8                    UNITED STATES BANKRUPTCY COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
 10
      In re,                                      Lead Case No. 17-05137-LT7
 11
      PEPPERTREE PARK VILLAGES 9                  Chapter 7
 12
      AND 10, LLC,                                (JOINTLY ADMINISTERED)
 13
                                                  NOTICE OF HEARING ON
 14                                               MOTION OF NORTHERN
                     Debtor.                      CAPITAL, INC. FOR ENTRY OF
 15                                               ORDER (I) RECONSIDERING
                                                  JULY 8, 2020 ORDER [ECF NO.
 16                                               718] PURSUANT TO RULES 3008
                                                  AND 9024 OF FEDERAL RULES
 17                                               OF BANKRUPTCY PROCEDURE
                                                  AND 11 U.S.C. §§ 105 AND 502(j),
 18                                               (II) PARTIALLY DISALLOWING
                                                  CLAIM NO. 4-3, AND
 19                                               (III) GRANTING RELATED
                                                  RELIEF
 20

 21   PEPPERTREE PARK VILLAGES 9                   Date: October 12, 2022
                                                   Time: 11:00 a.m.
 22   AND 10, LLC,                                 Dept.: Three – Room 129
          Case No. 17-05137-LT7                    Honorable Laura S. Taylor
 23

 24   PEPPERTREE LAND COMPANY,
          Case No. 17-05135-LT11
 25

 26   NORTHERN CAPITAL, INC.
         Case No. 17-04845-LT11
 27

 28   (continued on following page)


                                         MOTION FOR PARTIAL DISALLOWANCE OF CLAIM NO. 4-3
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  1

  2   DUANE SCOTT URQUHART,
         Case No. 17-04846-LT11
  3

  4                     Debtors.

  5

  6         TO THE DEBTORS, ALL CREDITORS AND ALL PARTIES IN

  7   INTEREST:

  8         YOU ARE HEREBY NOTIFIED that on October 12, 2022, at 11:00 a.m., in

  9   Department 3, Room 129, of the Jacob Weinberger United States Courthouse, located

 10   at 325 West F Street, San Diego, California 92101-6991, there will be a hearing

 11   regarding the motion of Northern Capital Inc., for:

 12                 Entry of Order (I) Reconsidering July 8, 2020 Order
                    [ECF No. 718] Pursuant to Rules 3008 and 9024 of
 13
                    Federal Rules of Bankruptcy Procedure and 11 U.S.C.
 14                 §§ 105 and 502(j), (II) Partially Disallowing Claim No.
                    4-3, and (III) Granting Related Relief
 15

 16                 See Exhibit A attached hereto.
 17
            If not required to be attached, a set of the moving papers will be provided,
 18
      upon request, by the undersigned or may be inspected at the office of the Clerk.
 19
            PLEASE TAKE FURTHER NOTICE that any opposition or other response
 20
      to the Motion must be filed and served upon the undersigned and the original and one
 21
      copy of such papers with proof of service must be filed with the Clerk of the U.S.
 22
      Bankruptcy Court at 325 West F St., San Diego, California 92101-6991, no later
 23
      than September 22, 2022.
 24

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  1   Dated: September 8, 2022
  2                                      PAUL HASTINGS LLP
  3

  4                                      By     /s/ Todd M. Schwartz
                                                        Todd M. Schwartz
  5
                                               On behalf of Northern Capital, Inc.
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  1                                        EXHIBIT A
  2
            By the Motion, Northern Capital Inc. (“NCI” or “Movant”) requests an order
  3
      (i) reconsidering the Court’s Order on Stipulation RE the Debtors’ Objection to
  4
      Meritage Homes of California, Inc.’s Proofs of Claim, [ECF No. 718] (the “Allowed
  5
      Claim Order”) entered on July 8, 2022, (ii) partially disallowing claim number 4-3
  6
      (the “JW Claim”), held by Justus Wallace Peppertree Park Villages 9 & 10, LLC
  7
      (“JW”), and (iii) granting related relief.
  8
            The bases for the relief requested herein are sections 105(a) and 502(j) of the
  9
      Bankruptcy Code, Bankruptcy Rules 3008 and 9024, and Civil Rule 60.
 10
            The Motion is supported by this Notice of Hearing and Motion, the Motion
 11
      and Memorandum of Points and Authorities attached thereto, together with all
 12
      pleadings and court documents on file in the above-referenced cases. Any party
 13
      wanting a copy of these documents may make a written request to the undersigned
 14
      and a copy will be provided, or a copy can be obtained from the Clerk of the
 15
      Bankruptcy Court, 325 West F St., San Diego, California 92101-6991during the
 16
      Court’s business hours.
 17
            NCI submits that reconsideration of the Allowed Claim Order and partial
 18
      disallowance of the JW Claim, such that the claim is not allowed in an amount greater
 19
      than $650,000—essentially the same amount that Howard Justus (“Justus”)
 20
      negotiated for himself while an insider, fiduciary, and potential creditor and acquirer
 21
      of Peppertree Park Villages 9 & 10, LLC (“PPV”)—is necessary and appropriate
 22
      because cause exists for reconsideration and the equities of this case demand partial
 23
      disallowance of the JW Claim.
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  1   Dated: September 8, 2022
  2                                      PAUL HASTINGS LLP
  3

  4                                      By     /s/ Todd M. Schwartz
                                                     TODD M. SCHWARTZ
  5
                                               On behalf of Northern Capital, Inc.
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